           Case 1:20-cv-05770-JMF Document 32 Filed 07/31/20 Page 1 of 3




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
STATE OF NEW YORK, et al.,                                             :
                                                                       :
                                     Plaintiffs,                       :   20-CV-5770 (JMF)
                                                                       :
                  -v-                                                  :
                                                                       :
DONALD J. TRUMP, in his official capacity as                           :
President of the United States, et al.,                                :
                                                                       :
                                      Defendants.                      :
                                                                       :
---------------------------------------------------------------------- X
                                                                       :
NEW YORK IMMIGRANT COALITION, et al.,                                  :
                                                                       :
                                     Plaintiffs,                       :   20-CV-5781 (JMF)
                                                                       :
                  -v-                                                  :
                                                                       :
DONALD J. TRUMP, in his official capacity as                           :        ORDER
President of the United States, et al.,                                :
                                                                       :
                                      Defendants.                      :
                                                                       :
---------------------------------------------------------------------- X

JESSE M. FURMAN, United States District Judge:

        In light of Plaintiffs’ joint letter of earlier today, see 20-CV-5770 (JMF), ECF No. 31, the

initial pretrial conference in these cases — which will be held remotely by telephone — is

RESCHEDULED for Wednesday, August 5, 2020, at 9:30 a.m. The deadline for the parties’

joint letter required by the Court’s Order of July 28, 2020, see 20-CV-5770 (JMF), ECF No. 24,

is MOVED to Monday, August 3, 2020, at 5:00 p.m. Given the Court’s anticipation that both

sides may intend to file motions of one sort or another, the parties should — in addition to
          Case 1:20-cv-05770-JMF Document 32 Filed 07/31/20 Page 2 of 3




conferring about the issues set forth in the Court’s Order of July 28, 2020 — endeavor to agree

upon a comprehensive schedule and set forth their proposal(s) in the joint letter due Monday.

       Each side shall designate one attorney to serve as Liaison Counsel, who shall provide his

or her contact information (including email and cellphone number) to the Court by email no later

than Monday, August 3, 2020, at 5:00 p.m. In that same email, Liaison Counsel shall indicate

if its side intends to order the transcript for “daily” delivery (i.e., within 24 hours). The Court

will provide to each Liaison Counsel information on how counsel who may have a speaking role

at the conference can access the conference; Liaison Counsel shall, in turn, share the information

with any counsel for his or her side who may have a speaking role. (Counsel who will not have a

speaking role may access the conference via the public-access line discussed below.)

       No later than Tuesday, August 4, 2020, at 10:00 a.m., Liaison Counsel shall email the

Court a comprehensive list of all counsel on his or her side who may have a speaking role during

the conference and the telephone number that each counsel will use to access the conference.

The list should designate the principal speaking counsel for each party, who will be responsible

at the outset of the conference for noting the appearances of other counsel on the call.

       Members of the public and any counsel who will not have a speaking role during the

conference may access the conference by calling 888-363-4749 and using access code

5421540#. That line will be on listen-only mode — that is, all callers will be muted.

       In accordance with the Court’s Emergency Individual Rules and Practices in Light of

COVID-19, available at https://www.nysd.uscourts.gov/hon-jesse-m-furman, the following rules

and guidelines apply to the conference:

      Absent permission of the Court, no more than two attorneys per party may speak during
       the teleconference. Each party should designate a single lawyer who will primarily speak
       on its behalf (including when noting the appearances of other counsel on the telephone).



                                                   2
         Case 1:20-cv-05770-JMF Document 32 Filed 07/31/20 Page 3 of 3




       If possible, with respect to common issues, one lawyer should speak on behalf of
       Plaintiffs in both 20-CV-5770 (JMF) and 20-CV-5781 (JMF).

      If possible, counsel should use a landline and a headset instead of a speakerphone.
       Regardless, counsel should mute themselves whenever they are not speaking to eliminate
       background noise. In addition, counsel should not use voice-activated systems that do
       not allow the user to know when someone else is trying to speak at the same time.

      To facilitate an orderly teleconference and the creation of an accurate transcript, counsel
       are required to identify themselves every time they speak. Counsel should spell any
       proper names for the court reporter. Counsel should also take special care not to interrupt
       or speak over one another.

      If there is a beep or chime indicating that a new caller has joined while counsel is
       speaking, counsel should pause to allow the Court to ascertain the identity of the new
       participant and confirm that the court reporter has not been dropped from the call.

      The conference may not be recorded.

      In the event that the Court is disconnected from the call, the parties should remain on the
       line until the Court can re-access the conference.

       No later than today at 5:00 p.m., Plaintiffs’ counsel shall serve a copy of this Order by

email on counsel for Defendants and file proof of such service with the Court. Defense counsel

shall promptly enter notices of appearance in both cases.

       SO ORDERED.

Dated: July 31, 2020                              __________________________________
       New York, New York                                  JESSE M. FURMAN
                                                         United States District Judge




                                                 3
